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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )
Kayla Renee Keyes,                             )       Case No. 1:20-cr-075
                                               )
               Defendant.                      )

       Defendant is charged in a Superseding Indictment with two offenses: (1) conspiracy to

distribute and possess with intent to distribute controlled substances in violation of 21 U.S.C. § 846;

and (2) maintaining a drug-involved premises in violation of 21 U.S.C. §§ 856(a)(1) and 856(b).

The court ordered her detained following a detention hearing on June 12, 2020.

       On August 3, 2020, defendant filed a motion requesting the court to reconsider its order of

detention. Defendant advised that she has been accepted into an inpatient treatment program at the

Prairie Recovery Center in Raleigh, North Dakota, on condition that she first passes a physical

examination and tests negative for COVID-19 and TB. She requested the court's assistance in

arranging for the examination and testing. Additionally, she requested to be released to the Prairie

Recovery Center.

       On August 4, 2020, the court issued an order in which it deferred ruling on defendant’s

motion pending completion of a physical and testing to Prairie Recovery Center’s satisfaction.

       On August 14, 2020, defendant filed a supplement to her motion for reconsideration of

detention. She advises, among other things, that she has now completed the physical and testing

for entry into Prairie Recovery Center. On August 15, 2020, the United States filed a response

advising that it does not object to defendant’s release for treatment.

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       There being no objection from the United States, the court GRANTS defendant's motion

(Doc. No. 40). Defendant shall be released to her father, Brian Keyes, no earlier than 8:00 a.m. on

August 19, 2020, for transport to the Prairie Recovery Center. While on release, defendant shall

comply with the following conditions:

       (1)     Defendant shall not violate federal, state, tribal, or local law while on release.

       (2)     Defendant shall appear in court as required and surrender for any sentence imposed.

       (3)     Defendant shall refrain from the use of alcohol; any use or possession of a narcotic

               drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

               unless prescribed by a licensed medical practitioner, and any use of inhalants.

               Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

               Services Officer to verify compliance. Failure or refusal to submit to testing or

               tampering with the collection progress or specimen may be considered the same as

               a positive test.

       (4)     Defendant shall report to the Pretrial Services Officer at such times and in such

               manner as designated by the Officer.

       (5)     Defendant shall not possess a firearm, destructive device, or other dangerous weapon.

       (6)     Defendant shall reside at the Prairie Recovery Center, fully participate in its

               programming, and comply with all of its rules and regulations. Upon her arrival, she

               shall contact Pretrial Services Officer Bobby Wiseman at (701) 530-2404.

       (7)     Defendant shall sign all releases of information requested by the Pretrial Services

               Officer so that her progress and participation in treatment may be monitored.

       (8)     Upon her discharge from the treatment program, defendant shall immediately report


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       to the United States Marshal's office in Bismarck with the understanding that she

       shall be detained pending further order of the court.

IT IS SO ORDERED.

Dated this 18th day of August, 2020.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court




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